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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 17-1397 JVS(JDEx)                                       Date   December 21, 2018

 Title             Megan Schmitt v. Younique LLC


 Present: The                    James V. Selna
 Honorable
                         Karla J. Tunis                                       Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           (IN CHAMBERS)
                         ORDER GRANTING IN PART AND DENYING IN PART
                        DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Younique, LLC (“Younique”) filed a motion for summary judgment on Plaintiffs
Megan Schmitt (“Schmitt”), Deana Reilly (“Reilly”), Carol Orlowsky (“Orlowsky”), and
Stephanie Miller Brun’s (“Brun”) (together—“Plaintiffs”) Second Amended Complaint
(“SAC”). (Docket No. 100.) Plaintiffs opposed. (Opp’n, Docket No. 109-1). Younique
replied. (Reply, Docket No. 115).

    For the following reasons, the Court grants in part Younique’s motion for
summary judgment.

                                                    I. BACKGROUND

       This case concerns the marketing and sales of Younique’s mascara product,
Moodstruck 3D Fiber Lashes (the “Lash Enhancer”).1 (SAC, Docket No. 58 ¶ 1) The
Lash Enhancer consists of two components, a “Transplanting Gel” and “Natural Fibers.”
(Id. ¶ 3.) Younique represented that the Natural Fiber component was “natural” and
consisted of “100% Natural Green Tea Fibers.” (Id. ¶ 4.) However, Plaintiffs allege that
the Natural Fiber component did not actually contain any green tea leaves and instead
was composed of ground-up nylon. (Id.) Plaintiffs allege that a reasonable person would
not consider nylon “natural.” (Id. ¶ 7.)

         1
         The Court recites the following facts based on the record before it. To the extent that either
party has objected to the facts contained, those objections are overruled. The Court does not rule on
objections related to facts or evidence upon which it has not relied.
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       Plaintiffs are consumers who purchased the Lash Enhancer. (Id. ¶¶ 32, 36, 40, 44)
At all times relevant to this action, Schmitt was a citizen of California, Reilly was a
citizen of Florida, Brun was a citizen of Ohio, and Orlowsky was a citizen of Tennessee.
(Id.) Plaintiffs filed a purported class action against Younique alleging thirteen causes of
action, including violations of the Magnuson-Moss Warranty Act (“MMWA”), 15 U.S.C.
2301, et seq., the California Unfair Competition Law (“UCL”), California Bus.& Prof.
Code § 17200, et seq., the California Consumers Legal Remedies Act (“CLRA”), Cal.
Civ. Code § 1750, et seq., the Florida Unfair and Deceptive Trade Practices Act
(“FUDTPA”), Fla. Stat. § 501.201, et seq., the Ohio Consumer Sales Practices Act, Ohio
Rev. Code § 1345.01, the Ohio Deceptive Trade Practices Act (“ODTPA”), Ohio Rev.
Code § 4165.01, et seq., and the Tennessee Consumer Protection Act (“TCPA”), Tenn.
Code Ann. § 47-18-101, et seq.; breaches of an express warranty under California, Ohio,
and Tennessee laws and breaches of the implied warranties of merchantability under
California, Ohio, and Tennessee laws. (See generally SAC, Docket No. 58.) Younique
filed this motion for summary judgment on all claims (Mot., Docket No. 100.)

                                    II. LEGAL STANDARD

       Summary judgment is appropriate where the record, read in the light most
favorable to the nonmovant, indicates “that there is no genuine dispute as to any material
fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a); see
also Celotex Corp. v. Catrett, 477 U.S. 317, 322–23 (1986). Summary adjudication, or
partial summary judgment “upon all or any part of [a] claim,” is appropriate where there
is no genuine dispute as to any material fact regarding that portion of the claim. Fed. R.
Civ. P. 56(a); see also Lies v. Farrell Lines, Inc., 641 F.2d 765, 769 n.3 (9th Cir. 1981)
(“Rule 56 authorizes a summary adjudication that will often fall short of a final
determination, even of a single claim . . . .”) (internal quotation marks omitted).

      Material facts are those necessary to the proof or defense of a claim, and are
determined by referring to substantive law. Anderson v. Liberty Lobby, Inc., 477 U.S.
242, 248 (1986). In deciding a motion for summary judgment, “[t]he evidence of the
non-movant is to be believed, and all justifiable inferences are to be drawn in his favor.”
Anderson, 477 U.S. at 255.2

         2
        “In determining any motion for summary judgment or partial summary judgment, the Court
may assume that the material facts as claimed and adequately supported by the moving party are
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        The moving party has the initial burden of establishing the absence of a material
fact for trial. Anderson, 477 U.S. at 256. “If a party fails to properly support an assertion
of fact or fails to properly address another party’s assertion of fact . . . , the court may . . .
consider the fact undisputed.” Fed. R. Civ. P. 56(e)(2). Furthermore, “Rule 56[(a)]3
mandates the entry of summary judgment . . . against a party who fails to make a showing
sufficient to establish the existence of an element essential to that party’s case, and on
which that party will bear the burden of proof at trial.” Celotex Corp., 477 U.S. at 322.
Therefore, if the nonmovant does not make a sufficient showing to establish the elements
of its claims, the Court must grant the motion.

                                           III. DISCUSSION

A.       Standing

        Pursuant to Article III of the Constitution, the Court’s jurisdiction over the case
“depends on the existence of a ‘case or controversy.’” GTE Cal., Inc. v. FCC, 39 F.3d
940, 945 (9th Cir. 1994). A “case or controversy” exists only if a plaintiff has standing to
bring the claim. Nelson v. NASA, 530 F.3d 865, 873 (9th Cir. 2008), rev’d on other
grounds, 562 U.S. 134 (2011). To have standing, “a plaintiff must show (1) it has
suffered an ‘injury in fact’ that is (a) concrete and particularized and (b) actual or
imminent, not conjectural or hypothetical; (2) the injury is fairly traceable to the
challenged action of the defendant; and (3) it is likely, as opposed to merely speculative,
that the injury will be redressed by a favorable decision.” Friends of the Earth, Inc. v.
Laidlaw Envtl. Servs., Inc., 528 U.S. 167, 180–81 (2000); see also Lujan v. Defenders of
Wildlife, 504 U.S. 555, 560 (1992); Nelson, 530 F.3d at 873. “[E]ach element must be
supported in the same way as any other matter on which the plaintiff bears the burden of
proof, i.e., with the manner and degree of evidence required at the successive stages of
the litigation.” Lujan, 504 U.S. at 561.



admitted to exist without controversy except to the extent that such material facts are (a) included in the
‘Statement of Genuine Disputes’ and (b) controverted by declaration or other written evidence filed in
opposition to the motion.” L.R. 56-3.
         3
       Rule 56 was amended in 2010. Subdivision (a), as amended, “carries forward the summary-
judgment standard expressed in former subdivision (c), changing only one word — genuine ‘issue’
becomes genuine ‘dispute.’” Fed. R. Civ. P. 56, Notes of Advisory Committee on 2010 amendments.
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       Younique argues that all of Plaintiffs’ claims fail as a matter of law because each
of the Plaintiffs lacks standing. (Mot., Docket No. 100 at 1.) Plaintiffs instead argue that
there are issues of fact that preclude summary judgment. (Opp’n, Docket No. 109-1 at 1.)
The Court examines each Plaintiff’s claims below.

         1.      Reilly

      Reilly brings her claim under the FUDTPA, which requires that there be “(1) a
deceptive act of unfair practice; (2) causation; and (3) actual damages.” Rollins, Inc. v.
Butland, 951 So. 2d 860, 869 (Fla. Dist. Ct. App. 2006). “[T]he measure of actual
damages is the difference in the market value of the product or service in the condition in
which it was delivered and its market value in the condition in which it should have been
delivered according to the contract of the parties.” Rollins, Inc. v. Heller, 454 So. 2d 580,
585 (Fla. Dist. Ct. App. 1984).

                 a.       Causation

      Younique argues that Reilly lacks standing because she was not exposed to the
Lash Enhancer’s labeling prior to purchasing and thus did not suffer an injury caused by
the mislabeling. (Mot., Docket No. 100 at 13.) Younique points to Reilly’s deposition
testimony indicating that the language regarding the natural fibers was not important to
her and that she spent $29 on the Lash Enhancer because her cousin was selling it—not
because she was induced to by it because of alleged false labeling. (Id. at 14; Reilly
Depo., 149:2-11, 43:24-44:10.; 153:19-154:15.)

       Plaintiffs instead argue that since each of the Plaintiffs, including Reilly, was
exposed to the misrepresentation that the Lash Enhancer was “natural” before their first
purchase, there is a genuine issue of material fact as to whether there is a causal link
between the alleged misrepresentation and Reilly’s purchase. (Opp’n, Docket No. 109-1
at 11.) Since Reilly purchased the Lash Enhancer “under the context that it had all these
benefits” and presenters advertised that the product had natural ingredients in it,
including on the party page, Plaintiffs indicate that there are sufficient facts to establish
causation. (Id. at 8–9; Reilly Transcript, 24:17-21, 44:20-21, 45:3-14.)

      While Younique emphasizes the importance of having viewed the label prior to
purchase, the operative complaint indicates that the FUDTPA claim extends beyond just
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the representations on the label. The SAC alleges “Younique engaged in misleading,
false, unfair, and/or deceptive acts and practices by misrepresenting to consumers that the
Natural Fibers component of the Product was “natural” and contained only green tea
leaves,” but the claim does not arise exclusively from reading the label of the product.4
(SAC, Docket No. 58 ¶ 115.) Thus, Reilly can still show an injury. In addition, the
evidence could lead a reasonable jury to find that the alleged misrepresentation caused
Reilly’s injury because she would have been unlikely to purchase a product without the
added benefits such as natural ingredients. (Reilly Transcript, 149:12-22.) While the
natural aspects of the Lash Enhancer may not have been the only reason that Reilly
purchased the product, Plaintiffs have still shown that it was a consideration in her
decision such that there is a dispute of material fact precluding summary judgment as to
causation.
                 b.    Damages

       Younique also states that Reilly lacks evidence of recoverable damages since she
was willing to pay the $29 purchase price because her cousin was selling it, and she does
not feel as though she lost out on the purchase. (Mot., Docket No. 100 at 13; Reilly
Depo. 153:19-154:15, 27:15-29:1, 58:22-25, 134:21-135:9.) Since Plaintiff’s expert, Dr.
May, did not opine on Reilly’s individual damages or classwide damages, Younique
contends that Reilly cannot show damages, especially since the only damages that she
could possibly be entitled to under the FUDTPA is the difference between the value of
the Lash Enhancer as represented and the value as received. (Mot., Docket No. 100 at
14.)

       Plaintiffs instead point to Reilly’s deposition testimony to support their contention
that she has a claim for recoverable damages:

                 Q. It says, “The product Ms. Reilly received was worth less than
                 product for which she paid.” Do you see that?
                 A. Yes.
                 Q. Why do you believe that?


         4
        Younique’s objection to testimony of what Reilly’s cousin posted on Facebook as hearsay is
overruled, as it need not be offered for the purpose of proving the truth of the matter asserted. (Reply,
Docket No. 114-1 at 8.) See Fed. Rule Evid. 802.
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                 A. Because normal -- I am willing to pay more money if it has
                 added benefits to me, like the natural fibers. That’s an added
                 benefit. It leaves me with the impression that when I put this on
                 my eye, I’m not going to get an eye irritation, which I did. So
                 that’s why I wouldn’t pay $29 for a product if it didn’t have those
                 added benefits.

(Reilly Transcript, 152:3-14.) Because Reilly indicated that she is willing to pay more
for a product that has added benefits and the natural fibers representation indicated that
the Lash Enhancer had added benefits, a reasonable jury could find that Reilly paid more
for the Lash Enhancer based on the alleged misrepresentations than she otherwise would
have.

       Plaintiffs also indicate that they have shown damages as to Reilly’s claim for two
reasons: (1) Reilly estimated that the Lash Enhancer would only be worth $15 or $20
since it was actually comprised of nylon, and (2) although Dr. May has not opined on
individual damages, he has presented three appropriate models for calculating class-wide
damages. (Opp’n, Docket No. 109-1 at 14, 17.)

       Younique instead contends that the Court cannot consider Reilly’s estimation of
the worth of the Lash Enhancer since Reilly objected in response to written discovery
seeking documents supporting her damages stating that she would “comply with [the
rules and case management order] governing disclosure of expert information.” (Henry
Decl., ¶ 36, Ex. FF; Response Nos. 9, 16, 17, 20, 21, 24-27; Reply, Docket No. 114-1 at
4–6.) Thus, Younique would hold Reilly to that response and bar evidence relating to her
estimation of individual damages. Even if Reilly’s testimony were considered, Younique
states that Plaintiffs still cannot rely on it because she cannot isolate a price premium
attributable to the representations that the product was natural because she was willing to
pay more for the Lash Enhancer since her cousin was selling it. (Reply, Docket No. 114-
1 at 6.) In addition, Younique argues that Reilly’s subjective estimate of what she would
be willing to pay is irrelevant because it fails to consider other marketplace factors. (Id.)

       Younique, however, does not indicate why Reilly’s deposition testimony regarding
her estimated value would have required turning over any documents in discovery, nor
have they presented evidence that she withheld documents regarding her individual
damages that Plaintiffs now rely on. Because Plaintiffs have pointed to deposition
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testimony that Reilly spent more than she otherwise would have spent on the Lash
Enhancer, there is a genuine dispute of fact that precludes summary judgment as to
standing based on a lack of damages. See Brazil v. Dole Food Co., 935 F. Supp. 2d 947,
962 (N.D. Cal. 2013) (“Brazil suffered a concrete and particularized injury based on the
fact that he allegedly was deceived, and then paid money that he would not otherwise
have paid had he known about the true nature of Defendants’ products.”). Younique’s
arguments regarding the inadequacy of Dr. May’s expert report as to class-wide damages
models is not relevant to the question of whether Reilly has standing to proceed on her
claim.5 (Opp’n, Docket No. 109-1 at 17.) Accordingly, the Court denies summary
judgment as to Plaintiffs Claim 6 under the FUDTPA.

         2.      Orlowsky

      Younique argues that Orlowsky lacks standing to bring claims under Tennessee
law because she did not live in Tennessee when she purchased the Lash Enhancer. (Mot.,
Docket No. 100 at 14.)

       Plaintiffs contend that “Defendant’s . . . arguments in regard to Orlowsky’s
Tennessee claims are misplaced: a choice of law analysis is appropriate at a later time as
standing has clearly been demonstrated.” (Opp’n, Docket No. 58 at 11.) While Plaintiffs
state that Orlowsky was a resident of Tennessee at the time this suit was filed, they cite
no case law indicating why Orlowksy would have standing without having made her
purchases of the Lash Enhancer while in Tennessee. (Reply, Docket No. 114-1 at 9;
Response, Docket No. 114-3 ¶ 5.)

       The purpose of the Tennessee Consumer Protection Act is “[t]o protect consumers
and legitimate business enterprises from those who engage in unfair or deceptive acts or
practices in the conduct of any trade or commerce in part or wholly within this state.”
Tenn. Code Ann. § 47-18-102. Since Orlowsky indicated that she did not purchase the
Lash Enhancer within the state of Tennessee, her claim fails under the TCPA. See In re
Capacitors Antitrust Litig., 154 F. Supp. 3d 918, 926 (N.D. Cal. 2015) (“[T]he strong
trend in [the Northern District of California] and in other courts is to require an in-state

         5
         The Court addresses Dr. May’s class-wide damages models in the separate Order on Class
Certification. Once the class is certified, Younique may challenge the merits of Plaintiffs’ claims on a
class-wide basis.
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purchase to establish Article III standing for state antitrust and related consumer
protection claims like the ones alleged in this case.”); see also (Order, Docket No. 53 at
7.) (“Younique does not urge the Court to strike allegations under other states’ laws
based on Rule 23; instead, it correctly argues that the named Plaintiffs do not have
standing to bring claims under the laws of states where they do not allege they made
purchases or were injured.”). As such, the Court does not find that Plaintiffs have
established standing for Orlowsky to bring claims under Tennessee law. Thus, the Court
grants summary judgment as to Plaintiffs’ claims 11-13 and claim 1 insofar as it relates
to Orlowsky. See United Food & Commercial Workers Local 1776 & Participating
Employers Health & Welfare Fund v. Teikoku Pharma USA, Inc., 74 F. Supp. 3d 1052,
1079 (N.D. Cal. 2014) (citing Easter v. Am. W. Fin., 381 F.3d 948, 962 (9th Cir. 2004))
(“The Ninth Circuit has confirmed that district courts can address “the issue of standing
before it addresse[s] the issue of class certification.”).6

         3.      Schmitt

                 a.   California’s Consumer Protection Laws

        The UCL prohibits “any unlawful, unfair or fraudulent business act or practice and
unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code § 17200.
To establish standing under the UCL, the plaintiff must allege (1) “economic injury” ( i.e.
, a loss or deprivation of money or property sufficient to qualify as an injury-in-fact), and
(2) the defendant’s unfair business practices caused plaintiff’s economic injury. Pulaski
v. Middleman, LLC v. Google, Inc. , 802 F.3d 979, 985 n.6 (9th Cir. 2015); Cal. Bus. &
Prof. Code § 17204 (“Actions for relief pursuant to this chapter shall be prosecuted exclusively
. . . by a person who has suffered injury in fact and has lost money or property as a
result of the unfair competition.”). “Courts have found an injury in fact sufficient
to confer standing under the UCL where a party has expended money, lost money
or property, or been denied money to which it has a cognizable claim as a result of
unfair conduct.” Thomas v. Dun & Bradstreet Credibility Corp. , 100 F. Supp. 3d
937, 947 (C.D. Cal. 2015) (citing Martinez v. Welk Grp., Inc. , 907 F. Supp. 2d
1123, 1137-38 (S.D. Cal. 2012)). The “difference between what the plaintiff paid and the

         6
         Because the Court grants summary judgment on the basis of a lack of standing, the Court does
not address Younique’s arguments in the alternative reading the lack of pre-suit notice for warranty
claims. (Mot., Docket No. 100 at 15.)
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value of what the plaintiff received is a proper measure of restitution.” In re Vioxx Class
Cases, 180 Cal App. 4th 116, 130–31 (2009).

       The CLRA forbids “unfair methods of competition and unfair or deceptive
acts or practices undertaken by any person in a transaction intended to result or
that results in the sale or lease of goods or services to any consumer.” Cal. Civ.
Code § 1770(a).

       To state a claim for breach of express warranty under California law, a plaintiff
must allege “(1) the exact terms of the warranty; (2) reasonable reliance thereon; and (3)
a breach of warranty which proximately caused plaintiff’s injury.” T&M Solar and Air
Conditioning, Inc. v. Lennox Int’l Inc., 83 F. Supp. 3d 855, 875 (N.D. Cal. 2015). An
express warranty can be “[a]ny affirmation of fact or promise made by the seller to the
buyer which . . . the goods shall conform to . . . .” Cal. Com. Code § 2313(1)(a). Under
California law, a plaintiff can allege that a product breaches implied warranty of
merchantability in multiple ways. See Cal. Com. Code § 2314. For instance, a product is
not merchantable if it does not “conform to the promises or affirmations of fact made on
the container or label if any.” Cal. Com. Code § 2314(2)(f). Therefore, if a product does
not conform to any promises or affirmations made by the seller on the container or label,
a plaintiff can state claims for breach of both express and implied warranties.

                 b.   Analysis

       Younique states that Schmitt lacks standing to bring her claims under the UCL,
under the CLRA, and based on breach of express and implied warranty claims because
she did not review the label before purchasing the Lash Enhancer. (Mot., Docket No. 100
at 20.) Although Younique acknowledges that Schmitt heard people describe the Lash
Enhancer as “natural” and saw “natural” on the website, Younique contends that she only
bought the product because she wanted to achieve the look of fuller lashes. (Id. at
20–21.) Since Schmitt did not read the label prior to purchasing, Younique states that
Schmitt has no evidence of causation. (Id. at 21.) Finally, Younique argues that Schmitt
has no evidence of her damages because she did not indicate a value for the Lash
Enhancer as received and Plaintiffs’ expert, Dr. May did not opine on her individual
damages.

         Plaintiffs have still made a showing that Schmitt was exposed to Younique’s
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alleged false representations because she visited Younique’s website prior to purchasing
the Lash Enhancer, which indicated that the product contained all natural fibers. (Opp’n,
Docket No. 109-1 at 10–11.) Thus, the fact that she did not read the label prior to
purchasing the Lash Enhancer is not fatal to her UCL and CLRA claims. (See SAC,
Docket No. 58 ¶¶ 73, 86-88.) In addition, Schmitt’s deposition testimony indicates that
in addition to wanting full lashes, she also went to the Younique website because the
lashes were natural. (Id. at 12; Schmitt Transcript, 39:19-40:3.) Under these
circumstances, Schmitt has presented evidence such that a reasonable jury could find
causation as to the UCL and CLRA claims

     However, with respect to the breach of express and implied warranty claims, the
SAC is limited to allegations regarding the warranties contained on the packaging. The
SAC alleges as follows:

                 99. On the Product’s packaging, Younique expressly warranted to
                 all purchasers that the Natural Fibers component of the Product
                 was “natural” and composed of green tea fibers.

                 106. Under Cal. Com. Code § 2314(2)(f) goods must “Conform
                 to the promises or affirmations of fact made on the container or
                 label if any.

                 107. On the Product’s packaging, Younique promised and
                 affirmed to all purchasers that the Natural Fibers component of the
                 Product was “natural” and composed of green tea fibers.

(Docket No. 58) (emphasis added.) Because it is undisputed that Schmitt did not view
the label prior to purchasing such that she would rely on it, her stated claims for breach of
express and implied warranties fail as a matter of law. Accordingly, the Court grants
Younique’s motion for summary judgment as to the breach of express and implied
warranty claims.7



         7
         At oral argument, counsel for Plaintiffs suggested that they may attempt to amend their
complaint to proceed on breach of warranty claims. The time to replead the California claims, however,
has passed.
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       In addition, as the Court explained in response to Younique’s argument that Reilly
had not provided evidence of damages, Schmitt has demonstrated that she paid more for
the product than she otherwise would have were it not for the alleged misrepresentations.8
Schmitt stated, “I don’t pay more for other – you know, for other mascaras. I’ve used the
same one until seeing, you know, this, and it was kind of a new thing, so – and it being
natural, then I was willing to pay more for it than my 5 to $7 mascara.” (Schmitt
Transcript, Docket No. 109-2, 130:2-12, 133:2-14.) Since Schmitt has established that
she paid more for the Lash Enhancer because it was represented as “natural,” summary
judgment based on a lack of damages to show standing for the UCL and CLRA claims is
denied.

         4.        Brun

                   a.     ODTPA claim

       Younique first states that Brun lacks standing to sue under the ODTPA because
relief under the ODTPA is not available to consumers. See In re Sony Gaming Networks
& Customer Data Sec. Breach Litig., 996 F. Supp. 2d 942, 1006 (S.D. Cal. 2014), order
corrected, No. 11MD2258 AJB (MDD), 2014 WL 12603117 (S.D. Cal. Feb. 10, 2014)
(“[B]ecause the Ohio Supreme Court has not addressed whether consumers have standing
to bring suit under the ODTPA, and the ‘vast majority of federal courts and all lower state
courts to address the issue have concluded that relief under the [ODTPA] is not available
to consumers,’ the Court finds Plaintiffs lack standing under the ODTPA.”) (citing
Phillips v. Philip Morris Companies, 290 F.R.D. 476, 2013 WL 1182233, at *6 (N.D.
Ohio 2013 Mar. 21, 2013). Younique cites Hamilton v. Ulta Beauty, Inc. for support,
which explains:

                   Courts finding no ODTPA consumer standing have collectively
                   given three reasons for that holding. First, Ohio courts look to the
                   federal Lanham Act when interpreting the ODTPA, and the
                   Lanham Act does not give a consumer right of action. This is
                   because the Lanham Act, like the ODTPA, “protects persons
                   engaged in commerce, not individual consumers.”


         8
             See Part A.1.b. supra.
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                 Second, the definition of “person” in the ODTPA qualifies the list
                 of individuals and entities permitted to sue with the phrase “or any
                 other legal or commercial entity.” This phrase implies that an
                 individual may bring suit under the ODTPA in his or her
                 “capacity as a participant in commercial activity,” but may not
                 bring suit as a non-commercial consumer.

                 Third, the Ohio Consumer Sales Practices Act (“OCSPA”)
                 provides consumer standing and prohibits virtually the same
                 practices as the ODTPA. Courts finding no ODTPA consumer
                 standing have found that statute would become superfluous if the
                 ODTPA also provided consumer standing. Most relevant here,
                 the OCSPA explicitly gives consumers a cause of action to sue
                 when a business represents “[t]hat the subject of a consumer
                 transaction is new, or unused, if it is not.”

Hamilton v. Ulta Beauty, Inc., No. 5:18-CV-754, 2018 WL 3093527, at *3 (N.D. Ohio
June 21, 2018) (citations omitted).

       In contrast, Plaintiffs cite two cases indicating that consumers like Brun have
standing under the ODTPA. See Schumacher v. State Auto. Mut. Ins. Co., 47 F. Supp. 3d
618, 630–32 (S.D. Ohio 2014) (determining that consumers have standing to sue under
the ODTPA while acknowledging that most courts deciding the issue have interpreted the
statute as providing standing only for commercial entities); Bower v. Int’l Bus. Machines,
Inc., 495 F. Supp. 2d 837, 844 (S.D. Ohio 2007) (interpreting consumers to fall within
the definition of “persons” under the ODTPA).

       While Plaintiffs point to cases in which courts in the Southern District of Ohio
have found consumer standing under the ODTPA, the Court sides with the majority of
courts that have found that consumers do not have standing under ODTPA, as the
OCSPA would be superfluous if consumers could sue under the ODTPA. See Hamilton,
2018 WL 3093527 at *3 (“[Schumacher and Bower] represent a minority view among the
state and federal courts to consider this issue. Indeed, even within the Southern District
of Ohio, these cases no longer represent the majority view.”). Accordingly, the Court
grants Younique’s motion for summary judgment as to the ODTPA claim.

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                 b.   OCSPA claim

       Next, Younique indicates that Brun’s Ohio Consumer Sales Practices Act
(“OCSPA”) claim is barred because the statute of limitations for such claims is two years
and Younique stopped selling the Lash Enhancer more than two years before the lawsuit
was filed. (Mot., Docket No. 100 at 22.) Since Plaintiffs do not dispute that Brun had
not purchased the Lash Enhancer for over two years before Plaintiffs brought suit,
Younique argues that summary judgment is appropriate on this claim.

       Plaintiffs instead argue that summary judgment is not appropriate as to this claim
because Brun still retains her claim for rescission. See Ohio Rev. Code Ann. §
1345.09(C)(1) (“Except as otherwise provided in division (C)(2) of this section, in any
action for rescission, revocation of the consumer transaction must occur within a
reasonable time after the consumer discovers or should have discovered the ground for it
and before any substantial change in condition of the subject of the consumer
transaction.”) However, as Younique points out, the SAC does not allege a claim for
rescission, and even if it did, there has been a substantial change in the condition of the
Lash Enhancer purchased since it has been used and disposed of. (Reply, Docket No.
114-1 at 114.) Thus, the statute of limitations applies to bar Plaintiffs’ claims under the
OCSPA. The Court grants Younique’s motion for summary judgment as to the OCSPA
claim.

                 c.   Breach of Warranty claims

      Younique also argues that Brun’s warranty claims fail because she lacked damages
caused by the alleged breach since she first received the Lash Enhancer for free without
reading the label and ultimately used the product as a source of income through sales.
(Mot., Docket No. 100 at 23.)

       Plaintiffs indicate that Brun received a message from a friend who encouraged her
to buy the Lash Enhancer because it contained natural fibers. (Opp’n, Docket No. 109-1
at 11.) When she received the Lash Enhancer, Brun observed that the label indicated that
it contained “100% natural green tea fibers.” (Id.; Brun Transcript, 91:19-92:22.) Since
Brun later became a presenter and purchased the Lash Enhancer, her claim that she was
exposed to alleged misrepresentations is not foreclosed merely because she received the
Lash Enhancer for free prior to making additional purchases. (Opp’n, Docket No. 109-1
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at 9, 11.) This indicates a causal link between the alleged misrepresentation and her
decision to purchase the Lash Enhancer. While Younique points to evidence indicating
that Brun did not tout the all-natural aspect of the Lash Enhancer when she promoted the
product, Plaintiffs have still presented a dispute of material fact regarding causation.

      Younique also states that Brun lacks evidence of recoverable damages since Brun
could not distinguish between purchases of the Lash Enhancer that she made for her own
personal use and which were for resale, and Dr. May did not opine on Brun’s individual
damages. (Mot., Docket No. 100 at 23.)

       Nonetheless, the record still reflects evidence that Brun has recoverable damages.
Brun’s deposition testimony indicates that the Lash Enhancer was only worth $29 to her
because she believed that it contained the 100 percent natural green tea fibers. (Brun
Transcript, 147:4-11.) In addition, she indicated that she would only have been willing to
pay up to $5 for the Lash Enhancer without the alleged misrepresentations. (Id. 148:18-
149:5.) While she may not be able to distinguish each of the purchases that were for her
personal use rather than for resale, Plaintiffs have still put forth evidence that Brun made
at least one additional purchase after seeing the alleged misrepresentation on the label.
This presents a genuine dispute of material fact regarding damages such that the Court
denies summary judgment as to Plaintiffs’ claims for breach of express and implied
warranty under Ohio law.

         5.      Plaintiffs’ MMWA Claims

       Younique argues that Plaintiffs’ claims under the MMWA fail because their
warranty claims lack merit and each of the Plaintiffs lacks standing. (Mot., Docket No.
100 at 24.) As previously explained, the Court grants summary judgment for the breach
of express and implied warranty claims as to Orlowsky, and Schmitt; thus summary
judgment as to the Plaintiffs Claim 1 under the MMWA is also granted as to Orlowsky
and Schmitt, since those claims lack merit. Because the Court denies Younique’s motion
for summary judgment as to Brun’s Ohio breach of warranty claims, the Court likewise
denies summary judgment as to Plaintiffs’ MMWA claim as to Brun. See Clemens v.
DaimlerChrysler Corp., 534 F.3d 1017, 1022 (9th Cir. 2008) (“[T]he claims under the
Magnuson–Moss Act stand or fall with his express and implied warranty claims under
state law.”)

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                                   IV. CONCLUSION

      For the foregoing reasons, the Court grants in part Younique’s motion for
summary judgment as to Claim 1 (MMWA) for Schmitt and Orlowsky, Claims 4 and 5
(breach of warranty under CA law), Claim 7 (OCSPA), Claim 8 (ODTPA), and Claims
11-13 (violations of Tennessee law). The Court denies Younique’s motion for summary
judgment as to Claim 1 (MMWA) for Brun, Claim 2 (UCL), Claim 3 (CLRA), Claim 6
(FUDTPA), Claims 9-10 (breach of Ohio express and implied warranty law).


                 IT IS SO ORDERED.




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